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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON
                                     EUGENE DIVISION


NORTHPOINT COMMERCIAL FINANCE                                 Case No. 6:20-cv-00785-MK
LLC, a Delaware limited liability company,
             Plaintiff,

      v.                                                      PLAINTIFF’S MOTION FOR
                                                              TEMPORARY RESTRAINING ORDER,
AL’S TRAILER SALES OF SALEM, INC.,                            ORDER TO SHOW CAUSE WHY
an Oregon corporation; SUTHERLIN RV,                          PRELIMINARY INJUNCTION SHOULD
INC., an Oregon corporation; REALITY RV                       NOT ISSUE, AND ORDER FOR
AND TRAILERS INC., an Oregon                                  PROVISIONAL PROCESS – REPLEVIN
corporation; A.O.A. GROUPS, INC., a                           AND CLAIM AND DELIVERY
California corporation; 4843 PORTLAND
ROAD, LLC, an Oregon limited liability                        Pursuant to Fed. R. Civ. P. 64 and 65
company; 347 MYRTLE STREET LLC, an
Oregon limited liability company; JAMIE L.                    EXPEDITED HEARING REQUESTED
MCGOWEN; MURLYN MCGOWEN;                                      ORAL ARGUMENT REQUESTED
SADIA SYED; NASEEMA DHAR; and
UNDLEEB Y. DHAR,

             Defendants.




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            CERTIFICATIONS PURSUANT TO FRCP 64 AND 65 AND LR 7-1

      Plaintiff Northpoint Commercial Finance LLC (“Northpoint”) requests that an expedited

hearing be set on Northpoint’s Motion for Temporary Restraining Order (“TRO Motion”) and

Motion for Replevin and Claim and Delivery (“Replevin Motion”, and together, the “Motions”),

at the Court’s first available date and time.

      Consistent with the requirements of Rule of Civil Procedure 65 and Local Rule 7-1, the

undersigned counsel for Northpoint, Howard M. Levine, attempted to confer in good faith with

Defendants’ President, Jamie McGowen, by telephone conference on May 24, 2020 at 12:05 p.m.

regarding expedited scheduling of the Motions and to discuss resolution of disputes regarding the

issuance of provisional process against Defendants. Ms. McGowen did not answer the phone, and

instead the call proceeded to voicemail. Undersigned counsel left a voice message stating the

nature of the call and that Northpoint would be seeking an expedited hearing on the Motions.

Mr. Levine left his office number on her voice mail and invited her to return his call.

        Based upon the foregoing certification, and the facts set forth in the Declarations filed in

support of the Motions, Northpoint will suffer immediate and irreparable harm without entry of

Orders on the Motions without further notice to the Defendants. A proposed order is submitted

herewith.

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      INTRODUCTION, BACKGROUND, AND SPECIFIC RELIEF REQUESTED

       Northpoint is seeking, (1) pursuant to Federal Rules of Civil Procedure 65, a temporary

restraining order and order to show cause why a preliminary injunction should not be entered in

order to recover Northpoint’s Collateral (as defined below) that is in the wrongful possession and

control of Defendants Al’s Trailer Sales of Salem, Inc’s (“Al’s”), Sutherlin RV, Inc. (“Sutherlin”),

and Reality RV and Trailers, Inc. (“Reality”) (collectively, the “Borrower Defendants”), and (2)

pursuant to Federal Rule of Civil Procedure 64 and Oregon Rules of Civil Procedure 83 and 85,

the provisional process remedy of claim and delivery or replevin with respect to Northpoint’s

Collateral that the Borrower Defendants are wrongfully retaining and controlling in direct violation

of Northpoint’s rights to Northpoint’s Collateral. 1 Northpoint supports the Motions with the facts

and arguments detailed below.

       The Borrower Defendants should be required to cooperate with Northpoint by assisting it

in identifying the locations where Northpoint’s Collateral is located, provide keys and

combinations to locks so that Northpoint can access and recover Northpoint’s Collateral, and be

prohibited from moving, selling, transferring, damaging, or destroying any of Northpoint’s

Collateral or otherwise interfering with Northpoint’s efforts to recover Northpoint’s Collateral.

                                               OVERVIEW

       Northpoint’s business includes the secured financing of recreational vehicle dealers so

dealers can acquire inventory for sale in the normal course of business. The Borrower Defendants

are in the business of selling recreational vehicles, trailers, parts, and accessories (collectively




1 All terms not specifically defined herein shall have the meanings set forth in the Complaint.


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“RVs”) through three separate corporations. The Borrower Defendants each granted Northpoint a

security interest in all of their assets, including but not limited to inventory, RVs, parts, accessories,

accounts, and other assets, and the proceeds of the foregoing (“Northpoint’s Collateral”) to

secure the Borrower Defendants’ obligations to Northpoint.

        Defendants Al’s, Sutherlin, and Reality sell RVs through dealerships located in Salem,

Oregon, Sutherlin, Oregon, and Woodburn Oregon. The Borrower Defendants’ agreements with

Northpoint require them to hold in trust for Northpoint the proceeds from each vehicle sale, and to

pay Northpoint the Invoice Cost of each vehicle from those sale proceeds. The Invoice Cost

represents the amount of money, plus interest, that Northpoint advanced to the Borrower

Defendant to acquire the item of inventory that is sold. This way, Northpoint will be repaid the

acquisition cost each Borrower Defendant incurred and Northpoint advanced when the Borrower

Defendants purchased inventory.

        Since March 2020, as more fully set forth in the Declarations supporting these Motions,

the Borrower Defendants sold inventory subject to Northpoint’s security interests, breached their

obligation to hold the sale proceeds in trust for Northpoint’s benefit, retained the sale proceeds,

and failed to pay Northpoint the Invoice Cost from those sale proceeds.

        The Borrower Defendants are in default to Northpoint. The principal balance due to

Northpoint from Al’s and Realty is currently $1,991,924.52 million, including trust funds of

$287,015.53. The principal balance due from Sutherlin is currently $497,736.28, including trust

funds of $53,278.24. Further, as a result of the Borrower Defendants’ defaults, Northpoint is

entitled to immediate and exclusive possession of Northpoint’s Collateral.

        Despite Northpoint’s demand on the Borrower Defendants to make Northpoint’s Collateral


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available for Northpoint to recover, the Borrower Defendants have failed and refused to do so, and

continue to be in exclusive possession of the collateral in contravention of Northpoint’s rights. The

Borrower Defendants’ actions violate Northpoint’s legal right to immediate and exclusive

possession of Northpoint’s Collateral under its agreements with the Borrower Defendants, the

Uniform Commercial Code, and other applicable law.

       Northpoint will suffer immediate and irreparable harm if the Motions are not granted. As

more fully set forth in the Declarations supporting this Motion, the Borrower Defendants continue

to maintain wrongful and exclusive possession and control of Northpoint’s Collateral in direct

contravention of Northpoint’s rights to Northpoint’s Collateral, and have not and cannot pay

Northpoint.

       Accordingly, Northpoint seeks entry of an order pursuant to Federal Rule of Civil

Procedure 65 directing the Borrower Defendants to immediately grant Northpoint access to the

Borrower Defendants’ sales lots, and anywhere else Northpoint’s Collateral is located or may be

found, to cooperate with Northpoint in allowing Northpoint to obtain physical access to

Northpoint’s Collateral, and not to interfere with Northpoint’s efforts to recover Northpoint’s

Collateral. To facilitate that relief, Northpoint also seeks an order pursuant to Federal Rule of

Civil Procedure 64 and Oregon Rules of Civil Procedure 83 and 85 directing the Borrower

Defendants to immediately deliver possession and control of Northpoint’s Collateral to

Northpoint.

       Entry of a temporary restraining order and claim and delivery with respect to Northpoint’s

Collateral is appropriate because there is a substantial likelihood of irreparable harm to Northpoint

if the relief is not granted. Because the Borrower Defendants are in wrongful possession of


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Northpoint’s Collateral and proceeds from Northpoint’s Collateral, they will not suffer any harm

if the injunctive relief is granted. Furthermore, based upon the statements of Jamie McGowen,

President of the Borrower Defendants, and Sadia Syed, one of the guarantors of the obligations to

Northpoint, to Northpoint representatives, the Borrower Defendants cannot pay Northpoint. (see

Molyneux Decl., ¶ 27)

                                      STATEMENT OF FACTS

      I.         Northpoint and the Borrower Defendants entered into Loan and Security
                 Agreements for the purpose of financing Defendants’ RV dealerships.

       Northpoint is in the business of providing financing for retail vehicle dealers selling RVs,

recreational trailers, parts, and accessories. (Layton Decl. ¶ 5) Defendants operate recreational

trailer dealerships in Salem, Oregon, Woodburn, Oregon, and Sutherlin, Oregon. (Layton Decl. ¶

6) Beginning in 2016, the Borrower Defendants entered into commercial financing agreements

with Northpoint, for the purpose of stocking their dealerships with inventory. (Layton Decl. ¶¶ 5,

11, 13, 42) The Borrower Defendants’ financing relationships with Northpoint are governed by

the following contracts:

       The Loan and Security Agreements Applicable to All Borrower Defendants.

             •   Northpoint and Al’s are parties to a “Loan and Security Agreement” dated February
                 9, 2016, initially between Northpoint and Al’s Trailer Acquisition Company (“Al’s
                 Acquisition”) (the “Al’s Loan Agreement”). 2 (Layton Decl. ¶ 11);

             •   Northpoint and Sutherlin are parties to a “Loan and Security Agreement” dated



2 On March 1, 2016, Al’s Acquisition changed its name to Al’s. On March 8, 2016, Al’s and
Northpoint executed a “And [sic] Security Agreement (Name Change)” (the “Name Change”)
retroactively amending Al’s Loan Agreement to reflect the name change to make Al’s the party
liable to Northpoint under the Loan and Security Agreement. (Layton Decl. ¶ 12) All references
to the Al’s Loan Agreement above include the Name Change.

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                October 11, 2017 (the “Sutherlin Loan Agreement”). (Layton Decl. ¶ 42);

           •    Northpoint, Reality, and Al’s are parties to an “Addendum to Loan and Security
                Agreement (Joinder)” (“Reality Addendum”) dated October 31, 2019, pursuant to
                which (among other things) Reality became an Additional Borrower under the Al’s
                Loan Agreement, and became jointly and severally liable to Northpoint for all of
                Reality’s and all of Al’s debts and obligations to Northpoint. (Layton Decl. ¶ 13)
                The Al’s Loan Agreement and the Reality Addendum are referred to collectively
                herein as the “Reality Loan Agreement.” 3

       The Al’s Loan Agreement, the Sutherlin Loan Agreement, and the Reality Loan Agreement

are Exhibits 1, 2, 3 and 13 to the Layton Declaration and are referred to collectively herein as the

“Loan and Security Agreements.”

       The Loan and Security Agreements set forth the following relevant duties and obligations

among the parties:

            •   Loans: From time to time Northpoint may advance loans to the Borrower
                Defendants for acquisition and financing of Inventory (Section 1);

            •   Payment: Upon selling an item of Inventory, the Borrower Defendants shall pay
                Northpoint the unpaid Invoice Cost plus applicable interest and fees (Section 2);

            •   Invoice Cost: The amount of the Loan for an item of Inventory shall be deemed to
                be the original invoice cost of the item of Inventory on the applicable Schedule
                (Section 2);



3 The Reality Addendum states that Reality is a “Borrower” for all purposes under the Al’s Loan
Agreement. As a “Borrower” under the Al’s Loan Agreement, Reality, among other things, (a) is
jointly and severally liable to Northpoint for all of Reality’s and all of Al’s debts and obligations
to Northpoint; and (b) pledged the Reality Collateral to secure all of Reality’s and all of Al’s debts
and obligations to Northpoint. Al’s debts and obligations to Northpoint include Al’s direct debts
and obligations under the Al’s Loan Agreement, and Al’s debts and obligations under the Al’s
Sutherlin Guaranty, discussed infra. In addition, when Reality became a Borrower under the Al’s
Loan Agreement and became indebted to Northpoint under the Al’s Loan Agreement, all of Al’s
Collateral became collateral for all of Reality’s debts and obligations to Northpoint. As a result,
all of Reality’s Collateral secures all of both Reality’s and Al’s debts to Northpoint, and all of Al’s
Collateral secures all of both Al’s and Reality’s debts and obligations to Northpoint. (Layton Decl.
¶ 14)

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        •   Collateral: The Borrower Defendants obligations to Northpoint are secured by the
            Borrower Defendants’ personal and fixture property of every kind and nature
            whenever owned or acquired, including without limitation, all goods, inventory,
            equipment, general intangibles, documents, accounts, deposit accounts, and
            proceeds of any and all of the foregoing (Section 3);

        •   Sale Proceeds Held in Trust and Subject to Immediate Transfer to Northpoint:
            Unless specifically agreed in writing, the Borrower Defendants hold all proceeds
            of any sale of Inventory in trust and shall immediately remit the unpaid Invoice
            Cost to Northpoint (Section 3);

        •   Insurance: The Borrower Defendants shall continuously maintain “all risk”
            property insurance covering each item of Northpoint’s Collateral for the full
            replacement value (Section 3);

        •   Default: Specific events of default, including the Borrower Defendants’ breach or
            failure to perform any obligations under the Loan and Security Agreements, and
            “any sale or other disposition of the Inventory … other than in compliance with
            Section 3 of this Agreement [describing the Borrower Defendants’ trust
            obligations]” (Section 6);

        •   Acceleration: Upon the Borrower Defendants’ default, and at Northpoint’s
            election, all the Borrower Defendants’ debts are immediately due and payable to
            Northpoint (Section 7);

        •   Right of Immediate and Exclusive Possession and Replevin: Upon the Borrower
            Defendants’ default, the Borrower Defendants waive all rights to possession of
            Northpoint’s Collateral and Northpoint shall have the right to immediately enter
            and remove Northpoint’s Collateral: “Borrower agrees that Lender may, by itself
            or through an agent, without notice to any person and without judicial process of
            any kind, enter into any premises or upon any land owned, leased or otherwise
            under the apparent control of Borrower where Lender believes the Collateral may
            be, and disassemble, render unusable and/or repossess all or any items of the
            Collateral. Borrower expressly waives all rights to possession of the Collateral
            after default and all claims for injuries suffered through or loss caused by entering
            and/or repossession by Lender. Borrower shall, upon demand by Lender, assemble
            the Collateral and return it to Lender at a place designated by Lender,” (Section 7).




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       The Al’s Sutherlin Guaranty 4

       In addition to its obligations under the Al’s Loan Agreement, and as part of the

consideration for Northpoint to extend financing to Sutherlin, on October 11, 2017 Al’s executed

and delivered to Northpoint a Guaranty under which Al’s guaranteed all of Sutherlin’s debts and

obligations to Northpoint (the “Al’s Sutherlin Guaranty”). (Layton Decl. ¶ 16) As a result of the

Al’s Sutherlin Guaranty, Al’s collateral that secured Al’s and Reality’s debts and obligations to

Northpoint, now also secures Sutherlin’s debts and obligations to Northpoint.

      II.     Northpoint perfected its security interests in Northpoint’s Collateral.

       Northpoint perfected its security interests in Northpoint’s Collateral by timely UCC filings

with the Oregon Secretary of State. (Layton Decl. ¶ 18, 32, 45)

      III.    Northpoint loaned substantial sums to the Borrower Defendants pursuant to
              the Loan and Security Agreements, allowing the Borrower Defendants to
              purchase Inventory for their dealerships.

       Pursuant to the Loan and Security Agreements, Northpoint advanced more than $6,368,000

of Loans to Al’s, Sutherlin, and Reality for acquiring and financing Inventory for the Borrower

Defendants’ dealerships. (Molyneux Decl., ¶ 7; Layton Decl. ¶¶ 15, 31, 43)

      IV.     The Borrower Defendants breached the Loan and Security Agreements by
              selling Inventory out of trust, failing to remit payment of the Invoice Cost to
              Northpoint, and allowing insurance to lapse.

       Beginning as early as March 2020 (and possibly before that), the Borrower Defendants

each breached material obligations under the Loan and Security Agreements.




4 The individual Defendants and several entity defendants also guaranteed Al’s, Sutherlin’s, and
Reality’s debts to Northpoint pursuant to unsecured guarantees that are not the subject of these
Motions.

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               The Borrower Defendants failed to remit payment of Invoice Costs to
               Northpoint, breaching Section 2(a) of the Loan and Security Agreements.

       In order to protect Northpoint’s Collateral, Northpoint’s agents regularly conduct physical

walkthrough inspections and inventory counts at the Borrower Defendants’ dealership locations.

On multiple occasions in March and April, 2020, those inspections identified trailers and other

inventory items that are part of Northpoint’s Collateral that were not on the Borrower Defendants’

lots, were unaccounted for, and as to which the Borrower Defendants failed to remit payment to

Northpoint of the Invoice Cost.

               1.     Northpoint’s inspections of Al’s Dealership revealed missing, unpaid
                      inventory Collateral.

       March 20 Inspection: On March 20, 2020, Northpoint’s agents conducted a walkthrough

inspection of Al’s Salem, Oregon location (the “Al’s Dealership”). (Palmer Decl. ¶ 3) This

walkthrough revealed three (3) inventory items missing and marked sold: a Forest River Model

CKT17BH (serial no. 0914); a Thor Industries Model ID2575RK (serial no. 7074); and a Travel

Lite Rayzr Fb (serial no. 6308). (Palmer Decl. ¶ 4) Northpoint later confirmed that Al’s paid the

Invoice Cost of the Travel Lite Rayzr Fb online, but that the remaining two (2) inventory items are

unaccounted for and unpaid: (i) Forest River Model CKT17BH (serial no. 0914); and (ii) Thor

Industries Model ID2575RK (serial no. 7074). (Molyneux Decl., ¶ 19) The total amount not paid

to Northpoint for these two (2) inventory items is $28,615.33. (see Layton Decl., ¶ 24, Exhibit 8)

       April 7 Inspection: On April 7, 2020, Northpoint’s agents again conducted a walkthrough

inspection of the Al’s Dealership. (Palmer Decl. ¶¶ 6-7) This walkthrough revealed one (1)

additional inventory item missing and marked sold. (Palmer Decl. ¶ 7) Northpoint, later confirmed

that this inventory item is unaccounted for and unpaid: (iii) Forest River Model S1A360DL (serial


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no. 7768). (Molyneux Decl., ¶ 25) The amount not paid to Northpoint for this inventory item is

$117,366.96. (see Layton Decl., ¶ 24, Exhibit 8)

       April 20 Inspection: On April 20, 2020, Northpoint’s agents again conducted a

walkthrough inspection of the Al’s Dealership. (Palmer Decl. ¶¶ 9-10) This walkthrough revealed

one (1) additional inventory item missing and marked sold. (Palmer Decl. ¶ 10) Northpoint, later

confirmed that this inventory item is unaccounted for and unpaid: (iv) Travel Lite Model EVOKE

B 2020 (serial no. 3915). (Molyneux Decl., ¶ 31) The amount not paid to Northpoint for this

inventory item is $27,375.00. (see Layton Decl., ¶ 24, Exhibit 8)

       In sum, four (4) items of Northpoint’s Al’s Collateral are missing from the Al’s Dealership.

Al’s sold these inventory items out of trust and Al’s did not pay Northpoint the Invoice Cost

totaling $173,357.29 (the “Al’s Trust Funds”). (Layton Decl., ¶ 24, Exhibit 8)

               2.     Northpoint’s inspections of Reality’s Dealership revealed missing,
                      unpaid inventory Collateral.

       March 20 Inspection: On March 20, 2020, Northpoint’s agents conducted a walkthrough

inspection of Reality’s Salem, Oregon location (the “Reality Dealership”). (Palmer Decl. ¶¶ 3-4)

This walkthrough revealed one (1) inventory item missing and marked sold. (Palmer Decl. ¶ 5)

Northpoint, later confirmed that this inventory item is unaccounted for and unpaid: (i) Grand

Design RV Model 350G (serial no. 6372). (Molyneux Decl., ¶ 20). The amount not paid to

Northpoint for this inventory item is $60,380.00. (see Layton Decl., ¶ 38, Exhibit 12)

       In sum, one (1) item of Northpoint’s Reality Collateral is missing from the Reality

Dealership. Reality sold this inventory item out of trust and Reality did not pay Northpoint the

Invoice Cost totaling $60,380.00 (the “Reality Trust Funds”). (Layton Decl., ¶ 38, Exhibit 12)



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               3.      Northpoint’s inspections of Sutherlin’s Dealership revealed missing,
                       unpaid inventory Collateral.

       March 20 Inspection: On March 20, 2020, Northpoint’s agent conducted a walkthrough

inspection of Sutherlin’s Sutherlin, Oregon location (the “Sutherlin Dealership”). (Waters Decl.

¶ 3) This walkthrough revealed two (2) inventory items missing and marked sold. (Waters Decl. ¶

5) Northpoint, later confirmed that these inventory items are unaccounted for and unpaid: (i) Forest

River Model CKT264CK-OR (serial no. 2044); (ii) Thor Industries Model 271 SPRING (serial

no. 4624). (Molyneux Decl., ¶ 21) The total amount not paid to Northpoint for these two (2)

inventory items is $37,717.24. (see Layton Decl., ¶ 50, Exhibit 17)

       April 13 Inspection: On April 13, 2020, Northpoint’s agent again conducted a walkthrough

inspection of the Sutherlin Dealership. (Waters Decl. ¶ 6) This walkthrough revealed one (1)

additional inventory item missing and marked sold: Forest River Model SCT271GSL R-C (serial

no. 0520). (Waters Decl. ¶ 7) Northpoint, later confirmed that the Invoice Cost of this inventory

item was paid on April 15. (Molyneux Decl., ¶ 30).

       Additionally, Sutherlin has failed to pay Northpoint the Invoice Cost of one (1) inventory

item allegedly stolen and submitted to insurance by Sutherlin in August 2019: (iii) Forest River

T23MK (serial no. 1489). (Layton Decl. ¶ 50) The total amount not paid to Northpoint for these

one (1) inventory item is $15,561.00. (see Layton Decl., ¶ 50, Exhibit 17)

       In sum, three (3) items of Northpoint’s Sutherlin Collateral are missing from the Sutherlin

Dealership. Sutherlin sold these inventory items out of trust and Sutherlin did not pay Northpoint

the Invoice Cost totaling $53,278.24. (the “Sutherlin Trust Funds”). (Layton Decl., ¶ 50, Exhibit

17)



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              The Borrower Defendants allowed required insurance to be cancelled,
              breaching Section 3 of the Lease and Security Agreements.

       Al’s, Sutherlin’s, and Reality’s assets are insured under the same insurance policy with

Sentry Select Insurance Company (“Sentry”). (Molyneux Decl., ¶ 10) Northpoint is an additional

insured under the policy. (Molyneux Decl., ¶ 10) On February 28 2020, Northpoint received notice

from Sentry that the insurance coverage for Al’s, Reality and Sutherlin would be cancelled,

effective April 5, 2020. (Molyneux Decl., ¶ 10) 5 Upon receiving this notice, Mr. Molyneux

contacted Jamie McGowen, President of Al’s, Sutherlin, and Reality, informed her that the

cancelled coverage was a serious breach of the Loan and Security Agreements, and demanded

proof of reinstatement. (Molyneux Decl., ¶¶ 10-11) Despite Northpoint’s demand, and multiple

follow-up demands, Northpoint, as an additional insured, has not received notice that the

cancellation is rescinded or that the Borrower Defendants have reinstated coverage. (Layton Decl.

¶¶ 56-58)


      V.     When Northpoint confronted the Borrower Defendants regarding the missing
             Northpoint Collateral and withheld Invoice Cost payments from Northpoint,
             the Borrower Defendants admitted to severe financial distress and admitted
             using the Invoice Cost proceeds to pay other debts.

       Since January 2020, Northpoint has experienced serious problems collecting payments

from the Borrower Defendants, including multiple payments returned for “not sufficient funds”

(“NSF”). (Molyneux Decl., ¶ 9) Additionally, upon selling inventory Collateral, the Borrower

Defendants have regularly delayed Invoice Cost payments to Northpoint. (see Molyneux Decl., ¶




5 A copy of the Cancellation Notice and underlying policy documents is attached as Exhibit 7a to
the Layton Declaration (the “Insurance Cancellation”). (Layton Decl. ¶ 54)

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16) These delays have resulted in multiple written and verbal communications from Northpoint to

the Borrower Defendants attempting to collect. (see Molyneux Decl., ¶ 9, 12-16) The Borrower

Defendants’ responses to Northpoint’s inquiries reveal that the Borrower Defendants are in severe

financial distress, are insolvent (in that they cannot pay their debts as they come due), and have

repeatedly wrongly withheld, and continue to withhold payments from various creditors (including

Northpoint) in violation of trust agreements.

       March 5, 2020: On March 5, 2020, Mr. Molyneux received a telephone call from Sadia

Syed, one of the Borrower Defendants’ personal guarantors. (Molyneux Decl., ¶ 12) On that call,

Ms. Syed informed Mr. Molyneux that in addition to owing Northpoint approximately $45,000

from unpaid inventory sales out of trust, the Borrower Defendants owed an additional $200,000 to

$250,000 from unpaid inventory sales out of trust to Wells Fargo, another secured creditor that

financed inventory for the Borrower Defendants. Mr. Molyneux immediately memorialized this

conversation in a March 5 email. (Molyneux Decl., ¶ 12) A copy of Mr. Molyneux’s March 5

email is appended as Exhibit 36 to the Molyneux Declaration.

       March 5, 2020: On March 5, 2020, Jamie McGowen, the Borrower Defendants’ President

and also one of the Borrower Defendants personal guarantors, emailed Mr. Molyneux stating that

she “had someone interested in coming in to take over,” and that “[t]hese people would come in

and payoff [sic] Wells Fargo and Northpoint,” but also indicated that the buyers’ “letter of intent”

was delayed. (Molyneux Decl. ¶ 13) A copy of Ms. McGowen’s March 5 email is appended as

Exhibit 36a to the Molyneux Declaration.

       March 9, 2020: On March 9, 2020, Mr. Molyneux spoke again with Ms. Syed. In this

conversation Ms. Syed informed Mr. Molyneux that she believed the Borrower Defendants’ sales


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out of trust debt to Wells Fargo had grown to approximately $375,000 and that the Borrower

Defendants total out of trust debt was approximately $500,000 to $550,000. Mr. Molyneux

immediately memorialized this conversation in a March 9 email. (Molyneux Decl., ¶ 15) A copy

of Mr. Molyneux’s March 9 email is appended as Exhibit 38 to the Molyneux Declaration.

       March 11, 2020: On or around March 11, 2020, in the ordinary course of its business,

Northpoint received a copy of a letter from Keystone RV Company to Reality, stating that Reality

is inaccurately holding itself out as an authorized dealer for Keystone RV Company and Dutchmen

Manufacturing and should immediately stop representing itself as an authorized dealer for

Keystone and Dutchmen at any location. (Molyneux Decl., ¶ 18) A copy of the Keystone RV

Company March 11 Letter is appended as Exhibit 41 to the Molyneux Declaration.

       March 20, 2020: On March 20, 2020, Mr. Molyneux emailed Ms. McGowen and Ms. Syed

inquiring about the inventory items discovered missing at the March 20 Al’s and Reality

Dealership Inspections, described above. On March 23, Ms. McGowan responded stating that she

“had to shut down the dealerships due to the Coronavirus”:

           Richard,

           I have had to shut down the dealerships due to the Coronavirus. So, there is
           literally nothing coming in. I’m sure that you can understand that if the last
           several ACH withdrawals didn’t clear than the current ones won’t either. You
           can continue to true to bleed us dry if that is what you choose to do.

           We are literally in the middle of a global crisis (that includes
           NORTHPOINT). So, you can continue on the path you are on if that’s your
           choice.

           Jamie.

(Molyneux Decl., ¶ 22) A copy of Ms. McGowen’s March 23 email is appended as Exhibit 42 to

the Molyneux Declaration.

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       March 25, 2020: On March 25, 2020, Mr. Molyneux emailed Ms. Syed informing her of

two additional NSF payments. Ms. Syed responded saying that she had lost “contact with Jamie”:

           Hi Richard I am in Louisiana and we have shut down going on here due to
           corona, I don’t have any contact with Jamie at this time, last I heard from her
           was she shut down the dealerships due to corona issue as well, I will try
           reaching out to her and give you a call after I speak to her, thanks

(Molyneux Decl., ¶ 23) A copy of Ms. Syed’s March 25 email is appended as Exhibit 43 to the

Molyneux Declaration.

       April 8, 2020: On April 8, 2020, Mr. Molyneux emailed Ms. Syed inquiring about another

missing item of inventory, explaining that Ms. McGowen was nonresponsive, and requesting Ms.

Syed’s assistance “to resolve this.” Ms. Syed responded:

           I understand that but I have no control over Jamie, she is not responding to me
           either, so I can [sic] say anything on her behalf, she should be responsible for
           all the costs, I will have to go into a legal battle against her at that point as
           well,

(Molyneux Decl., ¶ 26) A copy of Ms. Syed’s March 25 email is appended as Exhibit 45 to the

Molyneux Declaration.

       April 8, 2020: On April 8, 2020, after receiving Ms. Syed’s email, Ms. McGowen copied

Mr. Molyneux on an email she sent to Ms. Syed. In that email, Ms. McGowen admitted that the

“financial situation has only deteriorated” and that she had applied for “Federal Funding,” and

admitted that the Borrower Defendants were using sold out of trust funds (Northpoint’s Collateral

required to be held in trust) to “pay off other units as well as operating expenses and payroll”:

           Sadia,

           I spoke to Teresa and she told me that that unit delivered to the customer two
           weeks ago. I'm sure that the funds were used to pay off other units as well
           as operating expenses and payroll, Which I still had to cover an almost full
           payroll just 3 days ago. I feel like a broken record sometimes when speaking

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           to you guys or to Richard. The financial situation has only deteriorated since
           my email to Richard on March 23rd. If you go back to the email that I sent on
           the 23rd you will see that I was very clear on the situation and we all know
           that based on the current state of the country everyone will be relying on
           Federal funding to help.

           I have done my due diligence applying for Federal funding. I have submitted
           my application and uploaded all necessary documents to the bank. If that
           funding comes through then I will have the funds to pay the SOT's
           immediately. I have explained the situation to Richard numerous times and it
           remains the same every time I communicate with him. He wants me to pull a
           Rabbit out of my hat, I am unfortunately not a magician. As of now the Rabbit
           will appear as Federal Funding from the US Government.

           I will keep everyone including Richard updated on the Federal Funding as
           soon as I know anything further.

           Stay Safe and Stay healthy.

           Thanks

           Jamie

           (emphasis added) 6

(Molyneux Decl., ¶ 27) Mr. Molyneux immediately responded, stating that “[c]ontinuing to sell

our inventory out of trust is not an option” for Northpoint, and requesting “to pick up our

inventory.” (Molyneux Decl., ¶ 28) A copy of Ms. McGowen’s and Mr. Molyneux’s April 8

correspondence is appended as Exhibits 46 and 47 to the Molyneux Declaration.

       On April 21, 2020, Mr. Layton emailed Ms. McGowen regarding two additional items of

inventory Collateral that were sold but for which Northpoint had not received payment. Ms.

McGowen responded stating she was going to see an attorney. (Layton Decl., ¶¶ 59-60)




6 It is important to note that under the Paycheck Protection Program and Health Care Enhancement
Act, Pub. L. 116–139 (“PPP Act”), funds can only be used to pay payroll, payroll taxes, benefits,
rents, and utilities. The funds cannot be used to pay creditors.

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      VI.       The Borrower Defendants have ignored Northpoint’s demands to surrender
                Northpoint’s Collateral and failed to pay accelerated amounts due under the
                Loan and Security Agreements.

       In light of the Borrower Defendants’ documented breaches of the Loan and Security

Agreements and financial distress, Northpoint made multiple written demands that the Borrower

Defendants relinquish and return Northpoint’s Collateral. Most recently, by letters dated April 22,

2020, Northpoint notified the Borrower Defendants that due to their defaults, Northpoint had

terminated their credit facilities and accelerated the maturity of all amounts owed under the Loan

and Security Agreements. (Layton Decl. ¶ 61) Northpoint demanded payment of all amounts due

to Northpoint, and that the Borrower Defendants’ make Northpoint’s Collateral available for

repossession and return to Northpoint. (Layton Decl. ¶ 61) Despite repeated written and verbal

demands, the Borrower Defendants have failed to pay the Debt or surrender the Inventory

Collateral. (Layton Decl. ¶ 66; Molyneux Decl. ¶ 33)

       Lists of the Inventory Collateral remaining in the Borrower Defendants’ possession and

control as of May 8, 2020 are attached as Exhibits 7, 11, and 16 to the Layton Declaration. (Layton

Decl. ¶¶ 23, 37, 49)

       As of May 8, 2020, the total principal amounts due from the Borrower Defendants to

Northpoint, including Trust Funds, plus interest, costs, attorney fees, and other amounts provided

for the Loan and Security Agreements is as follows:

            •    Al’s: $1,991,924.52, of which $287,015.53 are trust funds (the “Al’s Debt”).
                 (Layton Decl. 25)

            •    Reality: $1,991,924.52, of which $287,015.53 are trust funds                    (the “Reality
                 Debt”). (Layton Decl. ¶ 40)

            •    Sutherlin: $497,736.43, of which $53,278.24 are trust funds (the “Sutherlin
                 Debt”). (Layton Decl. ¶¶ 49-15, Exhibits 16-17)

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     MEMORANDUM OF POINTS AND AUTHORITIES SUPPORTING MOTION FOR
     TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY A
              PRELIMINARY INJUNCTION SHOULD NOT ISSUE

       VII.    Introduction.

        Pursuant to Federal Rule Civil Procedure 65, Northpoint moves for a temporary restraining

order and order to show cause why a preliminary injunction should not issue against the Borrower

Defendants. In support of the Motion, Northpoint relies on the Declarations of Brent Layton,

Richard Molyneux, Robert Palmer, and Wesley Waters, and exhibits attached thereto; the

Memorandum of Points and Authorities; and the remaining pleadings and files herein, including

the Complaint and attached exhibits.

        Immediate relief is appropriate in this case in light of the strong likelihood of success on

Northpoint’s claims, the existence of irreparable injury if such relief is not issued, and the complete

absence of any irreparable injury or other hardship to the Borrower Defendants if the relief is

granted.

        The Borrower Defendants are RV dealerships, which have sold Northpoint’s Collateral out

of trust and refused to grant access to Northpoint to retrieve Northpoint’s Collateral. The Borrower

Defendants have allowed insurance policies covering Northpoint’s Collateral to be cancelled, the

Borrower Defendants’ dealership stores are shut, and Northpoint’s Collateral remains subject to

theft, damage, vandalism, and general commercial depreciation as it sits on the Borrower

Defendants’ lots.

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       VIII. Argument.

                Northpoint is Entitled to a Temporary Restraining Order and Preliminary
                Injunction.

                1.      Standard for Temporary Restraining Order and Preliminary
                        Injunction.

        The legal standards for entry of either a temporary restraining order or preliminary

injunction are the same. See Stuhlbarg Int’l Sales Co., Inc. v. John D. Brush & Co., 240 F.3d 832,

839 n.7 (9th Cir. 2001). To obtain a temporary restraining order or preliminary injunction, the

plaintiff must “establish that [it] is likely to succeed on the merits, that [it] is likely to suffer

irreparable harm in the absence of preliminary relief, that the balance of equities tips in [its] favor,

and that an injunction is in the public interest.” Winter v. NRDC, 555 U.S. 7, 20 (2008); eBay Inc.

v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); Perfect JO, Inc. v. Google, Inc., 653 F.3d

976, 980 (9th Cir. 2011).

        The Ninth Circuit Court of Appeals has articulated another version of the Winter test,

providing that a preliminary injunction may issue where “serious questions going to the merits

were raised and the balance of hardships tips sharply in the [plaintiff’s] favor.” Vanguard Outdoor,

LLC v. City of Los Angeles, 648 F.3d 737, 739-40 (9th Cir. 2011). Therefore, if the moving party

raises serious questions concerning the merits (as opposed to a likelihood of success) and the

hardship balance tips sharply in the moving party’s favor, an injunction can issue so long as the

plaintiff also shows a likelihood of irreparable injury and that the injunction is in the public interest.

Id. at 740. Under either version of the test, the Ninth Circuit endorses a “sliding scale” approach

in which “the elements of the preliminary injunction test are balanced, so that a stronger showing


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of one element may offset a weaker showing of another.” Pimentel v. Dreyfus, 670 F.3d 1096,

1105 (9th Cir. 2012).

               2.         Northpoint is Likely to Succeed on the Merits.

       To obtain a temporary restraining order or preliminary injunction, a plaintiff must show a

likelihood of prevailing on the merits. Wilson v. Watt, 703 F.2d 395, 399 (9th Cir. 1983).

However, a plaintiff need not show how it will positively prevail on the merits. Gilder v. P.G.A.

Tour, Inc., 936 F.2d 417, 422 (9th Cir. 1991). A reasonable probability--“fair chance” of success-

-is the standard for granting preliminary injunctive relief. Berda v. Grand Lodge of IAM, 584 F.2d

308, 315 (9th Cir. 1978); McCormick v. Claytor, 441 F. Supp. 622 (D. Or. 1977).

       Northpoint’s evidence demonstrates has a very strong likelihood of prevailing on the merits

of its claims of breach of the Lease and Security Agreements and conversion of Northpoint’s

Collateral. Unquestionably Northpoint, at a minimum, can show a “fair chance” of success on the

merits of these claims.

                          a.     Breach of the Loan and Security Agreements

       The Loan and Security Agreements are governed by Georgia law. “In Georgia, the essential

elements of a breach of contract claim are (1) a valid contract; (2) material breach of its terms; and

(3) damages arising therefrom.” Brooks v. Branch Banking & Tr. Co., 107 F. Supp. 3d 1290, 1295

(N.D. Ga. 2015) (quotation marks and alterations omitted). Among other remedies, Georgia law

provides that “once default has occurred, a secured creditor is authorized to take or retain

possession of the collateral.” Okefenokee Aircraft, Inc. v. PrimeSouth Bank, 676 S.E.2d 394, 396

(Ga. Ct. App. 2009) (citing OCGA § 11–9–609(a)(1)).

       As detailed above, the Borrower Defendants have breached their obligations under the


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Loan and Security Agreements by, at minimum selling inventory Collateral and failing to remit

the Invoice Cost of each item of inventory to Northpoint; selling inventory Collateral out of trust;

and allowing insurance policies covering inventory Collateral to be cancelled. Northpoint has

notified the Borrower Defendants of their defaults, and demanded payment and return of

Northpoint’s Collateral, which demands have been ignored. Northpoint has unquestionably been

damaged as a result of the Borrower Defendants’ failure to pay Invoice Cost of the inventory

Collateral it has sold out of trust and failure to pay Northpoint the accelerated balances due.

                       b.      Conversion.

       In Georgia, the tort of conversion applicable to secured creditors is as follows:

       A secured creditor has a right of action for conversion if property subject to its
       security interest is disposed of without the creditor’s authorization. The elements
       of such a claim include the showing of a valid security interest in the debtor’s
       property, disposition of that property, absence of the creditor’s authorization for the
       disposition, and resulting damage to the creditor.

Bearoff v. Craton, 830 S.E.2d 362, 376 (Ga. Ct. App. 2019) (quoting All Bus. Corp. v. Choi, 634

S.E.2d 400, 403 (Ga. Ct. App. 2006)). “[A] a secured creditor need not have foreclosed its interest

to maintain an action for conversion of Northpoint’s Collateral.” William Goldberg & Co. v.

Cohen, 466 S.E.2d 872, 883 (Ga. Ct. App. 1995).

       Similarly, under Oregon law, “A secured creditor with the right to possession of the

collateral after default may maintain an action for conversion against one who has exercised

unauthorized acts of dominion over the property to the exclusion of the creditor's rights.” Oregon

Bank v. Fox, 699 P.2d 1147, 1149 (Or. Ct. App. 1985).

       Here, the evidence shows that the Northpoint holds valid security interests in Northpoint’s

Collateral. The Borrower Defendants disposed of some of that inventory Collateral (Northpoint’s


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Collateral) by selling it out of trust and failing and refusing to remit to Northpoint the full amount

of the Invoice Cost they agreed to hold in trust for Northpoint’s benefit and to remit to Northpoint.

Instead, as Ms. McGowen admitted in her April 8, 2020 email to Ms. Syed, copied to Mr.

Molyneux at Northpoint, the Borrower Defendants used the inventory proceeds to pay operating

expenses. Northpoint suffered damages as a result of the Borrower Defendants’ tortious use of

Invoice Cost proceeds to pay their operating expenses instead of paying Northpoint. Based on this

evidence, Northpoint is highly likely to succeed on its conversion claim.

               3.      Northpoint Will Suffer Irreparable Harm in the Absence of
                       Preliminary Injunctive Relief.

       The Borrower Defendants have breached the Lease and Security Agreements, converted

Northpoint’s Collateral, sold Northpoint’s Collateral out of trust, and failed and refused to remit

to Northpoint the full amount of the Invoice Cost they were required to hold in trust for

Northpoint’s benefit. The Borrower Defendants admit to using these proceeds for payroll and other

expenses, further hindering Northpoint’s rights. Additionally, the Borrower Defendants have

refused Northpoint’s demands to return Northpoint’s inventory Collateral and allowed required

insurance policies to get cancelled, risking Northpoint’s Collateral even further.

       “Economic harm is not normally considered irreparable.” California v. Azar, 911 F.3d 558,

581 (9th Cir. 2018), cert. denied, 139 S. Ct. 2716 (2019). But where the plaintiff is unlikely to

recover monetary damages flowing from its injury, economic harm can be irreparable. Id.; E. Bay

Sanctuary Covenant v. Trump, 950 F.3d 1242, 1280 (9th Cir. 2020); see also Hoxworth v. Blinder,

Robinson & Co., 903 F.2d 186, 205 (3d Cir. 1990) (“[T]he possibility of an unsatisfied money

judgment … [may] constitute irreparable injury for purposes of granting a preliminary injunction.”



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(citing authorities; emphasis added)). Relevant here, economic harm is irreparable where “the

plaintiffs can establish that money damages will be an inadequate remedy due to impending

insolvency of the defendant or that defendant has engaged in a pattern of secreting or dissipating

assets to avoid judgment.” In re Estate of Ferdinand Marcos, Human Rights Litig., 25 F.3d 1467,

1480 (9th Cir. 1994). Evidence that the defendant is selling inventory out of trust and wrongfully

possessing and dissipating a secured creditor’s collateral is commonly accepted proof of

irreparable harm. E.g., Fid. Nat. Title Ins. Co. v. Castle, No. C 11-00896 SI, 2011 WL 5882878,

at *6 (N.D. Cal. Nov. 23, 2011) (defendant’s pattern of selling plaintiff’s collateral and dissipating

sales proceeds established likelihood of recurrence and irreparable harm (discussing authorities)).

       Here, there is no doubt Northpoint will suffer irreparable harm absent immediate injunctive

relief allowing Northpoint to repossess Northpoint’s Collateral. The Borrower Defendants have

willfully engaged in a pattern of selling Northpoint’s Collateral out of trust and refusing to remit

Invoice Costs to Northpoint. Despite Northpoint’s repeated inquiries regarding missing inventory

and demands for payment and return of Northpoint’s Collateral, the Borrower Defendants have

continued their blatantly tortious conduct, selling items out of trust throughout April 2020,

especially after Northpoint’s Mr. Molyneux unequivocally informed Ms. McGowen that

“[c]ontinuing to sell our inventory out of trust is not an option,” and requested “to pick up our

inventory.” (Molyneux Decl., ¶ 28).

       Ms. McGowen admits that the Borrower Defendants are insolvent because they cannot pay

their debts as they come due. She further admits that the Borrower Defendants have diverted

Northpoint’s Collateral and Invoice Cost proceeds “to pay off other units as well as operating

expenses and payroll”. (Molyneux Decl., ¶ 27) Further, the Borrower Defendants are likely to


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continue their improper conduct, particularly because they have already disregarded Northpoint’s

demand to stop selling inventory Collateral out of trust, and because the Borrower Defendants’

last ditch strategy to address their insurmountable financial problems—federal PPP Act funding—

cannot be used as they propose, i.e., to pay off their creditors.

       Under the Loan and Security Agreements and applicable law, Northpoint is entitled to

immediate access to Northpoint’s Collateral to preserve what value remains.                        Northpoint’s

evidence is more than sufficient to establish the likelihood of irreparable injury and the need for

injunctive relief. E.g., Fid. Nat. Title Ins. Co., 2011 WL 5882878, at *6; see also, e.g., Hartford

Cas. Ins. Co. v. Intrastate Constr. Corp., No. 10-61064-CIV, 2015 WL 13390523, at *13 (S.D.

Fla. Apr. 13, 2015) (“The dissipation of the $239,000.00 in cash proceeds from the sale of the

Davie Property, plus the existence of other real property being held in the Land Trust under the

Indemnitors' control, is more than sufficient to show the irreparable injury that Hartford may suffer

without the imposition of a preliminary injunction on its FUFTA claims.”); Am. Trade Partners,

L.P. v. A-1 Int'l Importing Enterprises, Ltd., 757 F. Supp. 559, 576 (E.D. Pa. 1991) (same: “ATP

will suffer irreparable injury if A–1, Premier, Jack Cassidy, Kevin Cassidy, Restivo, and

Santangelo are permitted to convert, dissipate, and disburse assets that defendants were legally

obligated to hold in trust for the benefit of ATP). 7



7 See also, Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009) (defendant CEO's prior
conduct of “convinc[ing] his fellow directors and trustees to consent to diverting nearly $35
million from the [Employee Stock Ownership Plan] into his personal bank account” established a
likelihood of dissipation); In re Focus Media Inc., 387 F.3d 1077, 1086 (9th Cir. 2004) (“specter
of irreparable harm” established in part because of “evidence in the record that in the past [the
defendant] made away with [the bankrupt company's] funds”); Connecticut Gen. Life Ins. Co. v.
New Images of Beverly Hills, 321 F.3d 878, 881 (9th Cir. 2003) (likelihood of dissipation and
irreparable harm established upon defendants' “history of fraudulent intra-family transfers, their

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                 4.     The Balance of Equities Tips Sharply in Northpoint’s Favor.

        In deciding whether to grant a temporary restraining order or a preliminary injunction, the

Court has a duty to balance the interests of both parties and weigh the potential damage to each.

Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975). If the plaintiff demonstrates a likelihood of

success on the merits and the existence of irreparable harm, then the plaintiff has shifted the

balance of equities in the plaintiff’s favor. Allstate Ins. Co. v. Rote, No. 3:16-cv-01432-HZ, 2016

WL 4191015, at *5 (D. Or. Aug. 7, 2016).

        Here, the balance of hardships weighs entirely in Northpoint’s favor. Northpoint has

established its likelihood of success and irreparable injury it is all but certain to suffer if injunctive

relief is not granted. This is all that is required to tip the balance of the hardship in Northpoint’s

favor. See id.

        With respect to the Borrower Defendants selling Northpoint’s Collateral out of trust, the

balancing test involves weighing the harm Northpoint may suffer if an injunction is not granted

against the harm, if any, that the Borrower Defendants may suffer if the injunction is granted.

Based on the evidence, this balancing test weighs entirely in favor of Northpoint as well.

        On the contrary, it is difficult to ascertain any harm that the Borrower Defendants would




refusal to disclose asset information in defiance of court order and their convenient divorce
settlement”); FTC v. Affordable Media, LLC, 179 F.3d 1228, 1236–37 (9th Cir. 1999) (likelihood
of dissipation and irreparable harm established upon defendants’ “history of spiriting their
commissions away to a Cook Islands trust, which was intentionally designed to frustrate United
States courts' powers to grant effective relief to prevailing parties”); Hilao, 25 F.3d at 1480
(likelihood of dissipation and irreparable harm when, among other things, “federal courts ha[d]
twice enjoined [relatives of the defendant estate] from transferring or secreting assets, based on a
pattern and practice of secreting assets through foreign bank accounts by the use of aliases and
shell corporations”).

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suffer if the Court entered an order granting Northpoint access to the Borrower Defendants’

dealership lots to recover Northpoint’s Collateral. Having breached the Loan and Security

Agreements and refused Northpoint’s demands, the Borrower Defendants do not have any legal

right to retain Northpoint’s Collateral, or any ownership, title, property, or possession rights in

Northpoint’s Collateral. As a result, the Borrower Defendants will not suffer any hardship by the

granting of the relief requested herein.

               5.      A Temporary Restraining Order and Preliminary Injunction Serves
                       the Public Interest.

       A temporary restraining order and preliminary injunction is in the best interests of the

public. Where an injunction impacts primarily private interests, the public interest factor does not

weigh heavily. Ocean Beauty Seafoods, LLC v. Pac. Seafood Grp. Acquisition Co., 648 F. App’x

709, 711-12 (9th Cir. 2016). In this case, any public interest tips in favor of Northpoint, as the

public interest favors protection of personal property, which is threatened in this case.

       Northpoint is entitled to a temporary restraining order and preliminary injunction.

  MEMORANDUM OF POINTS AND AUTHORITIES SUPPORTING MOTION FOR
     PROVISIONAL PROCESS OF CLAIM AND DELIVERY OR REPLEVIN

      I.       Introduction.

       Northpoint also seeks provisional process in the form of claim and delivery or replevin (the

“Replevin Motion”). The Borrower Defendants’ default entitles Northpoint to immediate and

exclusive possession of Northpoint’s Collateral. Okefenokee Aircraft, Inc. v. PrimeSouth Bank,

676 S.E.2d 394, 396 (Ga. Ct. App. 2009) (citing OCGA § 11–9–609(a)(1)); Oregon Bank v. Fox,

699 P.2d 1147, 1149 (Or. Ct. App. 1985). Yet, despite repeated demands, the Borrower Defendants

refuse to grant Northpoint access to their retail dealership lots to allow Northpoint to recover


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Northpoint’s Collateral; instead, Defendants are retaining wrongful and exclusive possession and

control over Northpoint’s Collateral.

       Northpoint has a right to immediate and exclusive possession of Northpoint’s Collateral.

In support of the Replevin Motion, Northpoint relies on the Declarations of Brent Layton, Richard

Molyneux, Robert Palmer, and Wesley Waters, and exhibits attached thereto; the Memorandum

of Points and Authorities; and the remaining pleadings and files herein, including the Complaint

and attached exhibits.

      II.     Argument.

               Northpoint is Entitled to the Provisional Relief of Claim and Delivery or
               Replevin.

               1.        Standard for the Provisional Relief of Claim and Delivery or
                         Replevin.

        “At the commencement of and throughout an action, every remedy is available that, under

the law of the state where the court is located, provides for seizing a person or property to secure

satisfaction of the potential judgment.” Fed. R. Civ. P. 64(a). This includes claim and delivery or

replevin. See id. at 64(b).

       The Oregon Rules of Civil Procedure (“ORCP”) 83 governs provisional process generally

and ORCP 85 governs the specific provisional process remedy of claim and delivery. “In

an action to recover possession of personal property, the plaintiff, at any time after the action is

commenced and before judgment, may claim the immediate delivery of such property, as provided

in Rule 83.” ORCP 85A. ORCP 83A sets forth the requirements for issuance of provisional

process, including the remedy of claim and delivery. A petitioner must demonstrate that the

action is one in which provisional process may issue based on the following factors:


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                A(1) The name and [...] place of business of the defendant; A(2)
                Whether the underlying claim is based on a consumer transaction
                and whether provisional process in a consumer good is sought; A(3)(a)
                If the provisional process sought is claim and delivery, a
                description of the claimed property in particularity sufficient to
                make possible its identification, and the plaintiff’s estimate of the
                value and location of the property; A(3)(b) If the provisional process
                sought is a restraining order, [...]; A(4) Whether the plaintiff’s claim
                to provisional process is based upon ownership, entitlement to
                possession, a security interest or otherwise; A(5) A copy or verbatim
                recital of any writing or portion of a writing, if plaintiff relies
                upon a writing, which evidences the origin or source of the plaintiff's
                claim to provisional process; A(6) Whether the claimed property is
                wrongfully detained by the defendant or another person; A(7)
                Whether the claimed property has been taken by public authority for
                a tax, assessment, or fine; A(8) If the plaintiff claims that the
                defendant has waived the right to be heard, a copy of the writing
                evidencing such waiver and a statement of when and in what manner
                the waiver occurred; A(9) Facts, if any, which tend to establish
                that there is a substantial danger that the defendant or another
                person is engaging in, or is about to engage in, conduct which would
                place the claimed property in danger of destruction, serious harm,
                concealment, removal from this state, or transfer to an innocent
                purchaser; A(10) Facts, if any, which tend to establish that without
                restraint immediate and irreparable injury, damage, or loss will occur;
                A(11) Facts, if any, which tend to establish that there is substantial
                danger that the defendant or another person probably would not
                comply with a temporary restraining order; and A(12) That there is
                no reasonable probability that the defendant can establish a
                successful defense to the underlying claim.

       ORCP 83A.

       “The order of provisional process issued by the court as provided in Rule 83 may

require the sheriff of the county where the property claimed may be to take the property from

the defendant or another person and deliver it to the plaintiff.” ORCP 85.

                2.     Northpoint has Satisfied the Requirements for Issuance of Provisional
                       Process under ORCP 83.

       Northpoint is entitled to the provisional process remedy of claim and delivery based

on each and every one of the factors under ORCP 83A, described above.

            •   Borrower Defendants are refusing to allow Northpoint to recover Northpoint’s


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            Collateral from the Borrower Defendants’ dealerships in Salem, Woodburn, and
            Sutherlin, ORCP 83A(1);

        •   The underlying claim is no t based on a consumer transaction or seeking
            provisional process in a consumer good, ORCP 83A(2);

        •   The claimed property is Northpoint’s inventory Collateral, ORCP 83A(3)(a);

        •   The provisional process seeks a temporary restraining order requiring the
            Borrower Defendants’ to cooperate with Northpoint by assisting Northpoint in
            identifying the locations where Northpoint’s Collateral is located, providing keys
            and combinations to locks so that Northpoint can access and recover Northpoint’s
            Collateral, and prohibiting the Borrower Defendants from moving, selling,
            transferring, damaging, or destroying any of Northpoint’s Collateral or otherwise
            interfering with Northpoint’s efforts to recover Northpoint’s Collateral, ORCP
            83A(3)(b);

        •   The provisional process is based upon Northpoint’s perfected security interest in
            Northpoint’s Collateral and its right to immediate and exclusive possession of
            Northpoint’s Collateral, ORCP 83A(4);

        •   The source of Northpoint’s right to provisional process is Section 7 of the Loan
            and Security Agreements, which expressly provides that upon default,

            Borrower agrees that Lender may, by itself or through an agent, without notice
            to any person and without judicial process of any kind, enter into any
            premises or upon any land owned, leased or otherwise under the apparent
            control of Borrower where Lender believes the Collateral may be, and
            disassemble, render unusable and/or repossess all or any items of the
            Collateral. Borrower expressly waives all rights to possession of the Collateral
            after default and all claims for injuries suffered through or loss caused by entering
            and/or repossession by Lender. Borrower shall, upon demand by Lender, assemble
            the Collateral and return it to Lender at a place designated by Lender. (emphasis
            added)

            ORCP 83A(5);

        •   Northpoint’s Collateral is wrongfully detained by the Borrower Defendants, ORCP
            83A(6);

        •   Northpoint’s Collateral has not been taken by public authority for a tax,
            assessment, or fine, ORCP 83A(7);

        •   The Borrower Defendants’ have waived the right to be heard pursuant to Section

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                7 of the Loan and Security Agreements, which provides: “Lender may, by itself or
                through an agent, without notice to any person and without judicial process of
                any kind, enter into any premises or upon any land owned, leased or otherwise
                under the apparent control of Borrower where Lender believes the Collateral may
                be, and disassemble, render unusable and/or repossess all or any items of the
                Collateral,” (emphasis added),ORCP 83A(8);

            •   The foregoing facts—especially that the Borrower Defendants each failed to pay
                Northpoint amounts due under the Loan and Security Agreements, allowed
                required insurance covering Northpoint’s Collateral to be cancelled, sold inventory
                out of trust and failed and refused to pay Northpoint the Invoice Costs, and instead
                applied the sales proceeds to other debts even after Northpoint demanded that they
                stop—establish that Northpoint’s Collateral is at immediate and substantial danger
                of destruction or loss, ORCP 83A(9); Northpoint will suffer irreparable injury if
                the Borrower Defendants’ are not restrained, ORCP 83A(10); A(11) that the
                Borrower Defendants are unlikely to comply with a temporary restraining order,
                ORCP 83A(11); and there is no reasonable probability that the Borrower
                Defendants can establish a successful defense to Northpoint’s claims, ORCP
                83A(12).

       In sum, Northpoint has established that: (1) Northpoint maintains an immediate and

exclusive possessory interest in Northpoint’s Collateral, which the Borrower Defendants continue

to wrongfully retain; (2) the Borrower Defendants refuse to allow access to their lots to allow

Northpoint to remove Northpoint’s Collateral; (3) Northpoint sent the Borrower Defendants

numerous written demands requesting return of Northpoint’s Collateral; (4) the Borrower

Defendants have still, to date, not returned Northpoint’s Collateral; and (5) Northpoint is suffering

damages.

       Northpoint’s Collateral is at a substantial risk of burglary and vandalism because the

Borrower Defendants retail dealership locations are not operating. Upon repossession, Northpoint

will be able to eliminate the possibility of diminution in value or loss to Northpoint’s Collateral

by securing it. There can be no doubt that Northpoint is entitled to and should receive immediate

and exclusive possession of Northpoint’s Collateral.


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SHOW CAUSE WHY PRELIMINARY INJUNCTION SHOULD NOT ISSUE, AND ORDER
FOR PROVISIONAL PROCESS – REPLEVIN AND CLAIM AND DELIVERY

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        Case 6:20-cv-00785-MK             Document 3              Filed 05/14/20         Page 38 of 42




               3.      Northpoint Should Not be Required to Post a Bond.

       Pursuant to ORCP 82A(3), before any property is taken by the sheriff under ORCP

85, the movant must file with the clerk a surety bond or an irrevocable letter of credit issued by

an insured institution, as defined in ORS 706.008, in an amount fixed by the court, and to the

effect that movant will pay all damages which the non-moving party may sustain by reason of the

claim and delivery, if (and only if), the same be wrongful or without sufficient cause.

       In this case, the Borrower Defendants cannot dispute that they have no property rights in

Northpoint’s Collateral. The Loan and Security Agreements themselves establish that the

Borrower Defendants’ possessory rights are extinguished. Northpoint is the sole party with an

immediate and exclusive possessory interest in Northpoint’s Collateral. Thus, t he Borro wer

Defendants cannot dispute Northpoint’s right to take immediate and exclusive possession of

Northpoint’s Collateral. This is exactly what Northpoint seeks to do with the Replevin Motion

for provisional process of claim and delivery.

       Because there is no basis for the Borrower Defendants to assert that the claim and delivery

is wrongful or without sufficient cause under ORCP 82A(3), Northpoint requests that this Court

set no bond.

                                             CONCLUSION

       For the reasons above, Northpoint respectfully requests that the Court grant its Motions

and enter a temporary restraining order as follows:

       1.      Requiring the Borrower Defendants, immediately upon receipt by any means of the

Court’s order, to grant Northpoint access to their lots and any and all Collateral, wherever located,

which are in the Borrower Defendants’ possession, custody, or control, to enable Northpoint


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recover Northpoint’s Collateral;

       2.      Requiring Defendants to cooperate with Northpoint’s efforts to repossess

Northpoint’s Collateral, and to facilitate Northpoint in accessing the Borrower Defendants’ lots,

and anywhere Northpoint’s Collateral is located, to provide keys to locks and combinations to

locks, and take all other necessary steps to allow Northpoint to remove Northpoint’s Collateral;

       3.      Requiring the Borrower Defendants to immediately turn over to Northpoint any and

all of Northpoint’s Collateral that the Borrower Defendants have removed from their lots without

authorization from Northpoint or otherwise have in their possession and control; and

       4.      Restraining the Borrower Defendants and their employees, other agents, and all

persons in concert with them from using hindering, impeding, or otherwise interfering with

Northpoint’s efforts to recover Northpoint’s Collateral.

       Northpoint further moves the Court for an order requiring the Borrower Defendants to

show cause, if there be any, why a preliminary injunction should not issue so that the order

requested above continues and remains in effect while this action is pending.

       In light of the serious risk of harm to Northpoint’s Collateral, strong likelihood of success

on the merits, the fact that the Borrower Defendants will not suffer irreparable harm by the granting

of an injunction, and the fact that Northpoint maintains an undisputed right to immediate and

exclusive possession of Northpoint’s Collateral, Northpoint requests that the Court waive any

injunction bond under Fed. R. Civ. P. 65(c) and ORCP 82A(3).

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          A proposed order is submitted herewith.

          Dated this 14th day of May, 2020.

                               SUSSMAN SHANK LLP

                                     /s/ Howard M. Levine
                               By _____________________________________________
                                 Howard M. Levine, OSB No. 800730
                                 Jesse C. Stewart, OSB No. 200478
                                 Attorneys for Northpoint Commercial Finance LLC


(03450952);




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                             UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON
                                        EUGENE DIVISION


NORTHPOINT COMMERCIAL FINANCE                                  Case No. 6:20-cv-00785-MK
LLC, a Delaware limited liability company,
               Plaintiff,

       v.                                                      [PROPOSED]
                                                               ORDER GRANTING PLAINTIFF’S
AL’S TRAILER SALES OF SALEM, INC.,                             MOTION FOR TEMPORARY
an Oregon corporation; SUTHERLIN RV,                           RESTRAINING ORDER, PRELIMINARY
INC., an Oregon corporation; REALITY RV                        INJUNCTION, AND PROVISIONAL
AND TRAILERS INC., an Oregon                                   PROCESS – REPLEVIN AND CLAIM
corporation; A.O.A. GROUPS, INC., a                            AND DELIVERY
California corporation; 4843 PORTLAND
ROAD, LLC, an Oregon limited liability
company; 347 MYRTLE STREET LLC, an
Oregon limited liability company; JAMIE L.
MCGOWEN; MURLYN MCGOWEN;
SADIA SYED; NASEEMA DHAR; and
UNDLEEB Y. DHAR,

               Defendants.

                                                   ORDER

       This matter came before the Court on Plaintiff’s Motion For Temporary Restraining Order,

Order To Show Cause Why Preliminary Injunction Should Not Issue, And Order For Provisional

Process – Replevin And Claim And Delivery pursuant to Fed. R. Civ. P. 64 and 65 and ORCP 83

and 85 [Docket No. _____] (the “Motion”). The Court having reviewed the Motion and supporting

declarations of Brent Layton, Richard Molyneux, Wesley Waters, and Robert Palmer, and

considered the evidence, the law, and the arguments of the parties, it is

       ORDERED:

       1.      Plaintiff’s Motion is GRANTED;


ORDER GRANTING PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER,
PRELIMINARY INJUNCTION, AND PROVISIONAL PROCESS – REPLEVIN AND CLAIM
AND DELIVERY - Page 1


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         FURTHER ORDERED:

         2.       Defendants Al’s Trailer Sales of Salem, Inc., Sutherlin RV, Inc., and Reality RV

and Trailers Inc. (collectively, the “Borrower Defendants”) shall immediately upon receipt by any

means of this Order, grant Northpoint access to their lots and any and all of Northpoint’s Collateral,

wherever located, which is in the Borrower Defendants’ possession, custody, or control, to enable

Northpoint recover Northpoint’s Collateral;

         3.       The Borrower Defendants shall cooperate with Northpoint’s efforts to repossess

Northpoint’s Collateral, and to facilitate Northpoint in accessing the Borrower Defendants’ lots,

and anywhere Northpoint’s Collateral is located, to provide keys to locks and combinations to

locks, and take all other necessary steps to allow Northpoint to remove Northpoint’s Collateral;

         4.       The Borrower Defendants shall immediately turn over to Northpoint any and all of

Northpoint’s Collateral that the Borrower Defendants have removed from their lots without

authorization from Northpoint or otherwise have in their possession and control; and

         5.       The Borrower Defendants and their employees, other agents, and all persons in

concert with them shall not hinder, imped, or otherwise interfere with Northpoint’s efforts to

recover Northpoint’s Collateral.

         6.       Plaintiff shall post a bond in the amount of _______.

         Entered this _____ day of May, 2020.


                                                         _______________________________
                                                         United States District Judge


*25745-001\PROPOSED ORDER GRANTING MOTION FOR TRO (03454416);1




ORDER GRANTING PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER,
PRELIMINARY INJUNCTION, AND PROVISIONAL PROCESS – REPLEVIN AND CLAIM
AND DELIVERY - Page 2


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